This action commenced on February 12th, 1881, is prosecuted in the name of the separate creditors uniting as plaintiffs, against their common creditor, Summit, and the associate defendants who are charged with cooperating and aiding in the attempt to secrete and screen his property from the payment of their several demands. At the same time, and upon the affidavits of agents of some of the parties plaintiff, one of which bears date on the 5th day of that month an order of arrest was obtained and a warrant of attachment awarded, the proceedings under which were essentially similar to those had in the single action of the plaintiffs, Devries  Co., that have been considered and decided in their appeal.
Upon the hearing of the defendants' motion to vacate the arrest and attachment, and the numerous affidavits heard in support of and in opposition thereto, the judge acting in place of the clerk, with consent of counsel, finds as facts:
1. That the defendant did not conceal himself to avoid the service of legal process;
2. That he has committed none of the acts that authorize the issue of either writ, and
3. That he was under twenty-one years of age when the debt was contracted. *Page 119 
Thereupon the judge vacated the arrest, discharged the attachment, and directed the return of the money deposited, and the other property attached, to the defendant. From this order the plaintiffs appeal.
We see no sufficient reasons for reversing or modifying the ruling in this case, that do not apply with equal force to the other. The object of both is to enforce contract liabilities incurred in the purchase of goods, and by aid of the auxiliary remedies to pursue and subject the property of the debtor to their satisfaction. The present      (133) complaint also asserts the obligation resting upon the debtor, and imputes to him fraud in contracting the debts, and an intention not to pay for the goods then entertained and since fully manifested in his persistent efforts to conceal and keep his funds beyond the reach of creditors, and his refusal to appropriate any part of them to the payment of what he owes. The action does not proceed upon the idea of a recession of the original contract by the defendant's repudiation of his own obligation on the plea of legal incapacity, and the revesting of title to the goods in the vendors respectively, for the complaint alleges that they did not know at the time of sale of the infancy of the debtor, "and do not now know such to be the fact," thus putting in issue the anticipated defence.
The rule is well settled that where an infant has purchased property, and has it in possession after coming of age, and then avoids the sale, he must restore it; and for a tortious use or disposition of any part of it after such avoidance, he renders himself liable to those from whom it was obtained. But he cannot be sued in tort for any disposition made of the goods previously and during his minority, any more than he can be held responsible upon the contract. Tyler Inf. and Cov., Sec. 36; 2 Kent Com., 240; 1 Am. Lead. Ca., 115; Kitchen v. Lee, 11 Paige, 107; Skinner v.Maxwell, 66 N.C. 45.
But the complaint does not present a claim to the destroyed goods, or to the insurance money paid therefor upon the basis of an annulled contract, revesting title in the vendors, (if such a claim can be entertained for the money, as a substitute for the goods), but proceeds upon the existence of a valid obligation, or of such fraudulent conduct in obtaining the goods as to make the defendant liable in an action for the tort. But whatever construction the complaint may bear, the fund in the hands of the clerk is collected and paid in under the attachment, the dissolution of which is followed by the restoration to the debtor of his property thus taken.      (134)
We are asked to correct the judgment so as to leave the money where it is, until final judgment, upon the ground that a disputed fund in custodialegis will be retained until the conflicting claims of parties *Page 120 
are determined, and for this is cited, among other cases as to the rule in equity, that of Bruff v. Stern, 81 N.C. 183. None of them however sustain the contention of the appellants, that a fund taken under judicial process from a person wrongfully, will not be restored when the wrong appears and is adjudged. Perry v. Tupper, 70 N.C. 538; Meroney v. Wright, 84 N.C. 336.
In Bruff v. Stern, most in point, the assignee in a deed of trust was allowed to interplead and set up title to the property attached, and issues thus raised between him and the plaintiff were directed to be made up for trial before a jury, pending which the court refused to restore the property to the defendant, and thus to his assignee acting in cooperation. But here, the fund belongs to the debtor, and there is not a contest about the title requiring its retention and an interference with the order of restitution.
It is insisted further for the appellants that the finding of facts is partial and does not cover the entire ground assigned in the affidavits, and in this respect is insufficient.
An examination of the affidavits does not satisfy us that the alleged defect really exists. The first in time repeats the account of the ineffectual visit to defendant's place of residence for the purpose of securing payment of his principal's claim, the purchase of goods and their insurance, the defendant's collection of part of the insurance money and refusal to apply it to his debts, and upon information that he intends to collect the residue and fraudulently conceal it, and thus evade the payment of his debts. The second affidavit repeats the same charges — that the defendant has in his hands or under control funds amply sufficient to meet all his debts, and, (135)  with the connivance of the other defendants except the insurance company, is endeavoring fraudulently to secrete the same as well as conceal himself, to defeat the payment of his debts and escape the service of process, and to leave the state.
It is difficult from such loose allegations to ascertain the specific acts charged, which in connection with the imputed fraudulent purpose are relied on to justify the arrest and attachment, though each affidavit is full of epithets of fraud and fraudulent designs. The court therefore in negativing the allegation of a fraudulent concealment of the person of the defendant to avoid process, finds in the same indefinite manner in which the charges are made, the absence of any just grounds for either of the writs. We are not therefore at liberty to correct the judgment for this assigned error. When the allegation is distinct and specific, the responsive finding should be so.
We do not wish to be understood as giving our sanction to the form of the present suit in the union of so many separate causes of action *Page 121 
in separate plaintiffs, whether the action be founded in contract or tort, unless when in pursuit of a common fund in which each has an interest, to which class the present action as we interpret the statements in the complaint does not belong.
We confine ourselves solely to the interlocutory ruling which the appeal brings for review.
It must be declared there is no error, and this will be certified.
No error.                                                Affirmed.
(136)